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                               EXHIBIT A
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                                                                                                                              BA20230067042

                          STATE OF CALIFORNIA                                                                        For Office Use Only
                          Office of the Secretary of State
                          STATEMENT OF INFORMATION                                                                    -FILED-
                          CORPORATION
                          California Secretary of State                                                    File No.: BA20230067042
                          1500 11th Street                                                                 Date Filed: 1/12/2023
                          Sacramento, California 95814
                          (916) 653-3516



Entity Details
  Corporation Name                                                         COA, INC.
  Entity No.                                                               1018736
  Formed In                                                                CALIFORNIA
Street Address of Principal Office of Corporation
  Principal Address                                                        12928 SANDOVAL ST.
                                                                           SANTA FE SPRINGS, CA 90670
Mailing Address of Corporation
  Mailing Address                                                          12928 SANDOVAL ST.
                                                                           SANTA FE SPRINGS, CA 90670
  Attention
Street Address of California Office of Corporation
  Street Address of California Office                                      12928 SANDOVAL ST.
                                                                           SANTA FE SPRINGS, CA 90670
Officers

                 Officer Name                                 Officer Address                                        Position(s)

   MICHAEL YEH                           12928 SANDOVAL ST.                                        Chief Executive Officer
                                         SANTA FE SPRINGS, CA 90670
   LISA KAO                              12928 SANDOVAL ST.                                        Secretary
                                         SANTA FE SPRINGS, CA 90670
   ALEXANDER PAN                         12928 SANDOVAL ST.                                        Chief Financial Officer
                                         SANTA FE SPRINGS, CA 90670


Additional Officers

                  Officer Name                       Officer Address                   Position                      Stated Position

                                                                  None Entered


Directors

                                 Director Name                                                    Director Address

   LISA KAO                                                               12928 SANDOVAL ST.
                                                                          SANTA FE SPRINGS, CA 90670
   ALEXANDER PAN                                                          12928 SANDOVAL ST.
                                                                          SANTA FE SPRINGS, CA 90670
   MICHAEL YEH                                                            12928 SANDOVAL ST.
                                                                          SANTA FE SPRINGS, CA 90670

  The number of vacancies on Board of Directors is: 0

Agent for Service of Process
  California Registered Corporate Agent (1505)                             INCORPORATING SERVICES, LTD.
                                                                           Registered Corporate 1505 Agent
Type of Business
  Type of Business                                                         FURNITURE WHOLESALE

                                                                                                                                           Page 1 of 2
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                                                                                                                                          B1399-7968 01/12/2023 1:59 PM Received by California Secretary of State
Email Notifications
  Opt-in Email Notifications                                          Yes, I opt-in to receive entity notifications via email.
Labor Judgment
  No Officer or Director of this Corporation has an outstanding final judgment issued by the Division of Labor
  Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any wage
  order or provision of the Labor Code.
Electronic Signature

       By signing, I affirm that the information herein is true and correct and that I am authorized by California law to sign.


  Emily Chen                                                         01/12/2023
  Signature                                                          Date




                                                                                                                                  Page 2 of 2
